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po >
“ DEPARTMENT OF MENTAL HEALTH
Pre-evatuation Screening Form

Communicaure Case #: : YT = q G

IN THE, bh BALM COURT OF MARSHALL COUNTY DATE 4] 9? / li
(Type of Cody bf
COURT CASE NO. SERVICE CODE 48 UNITS OF SERVICE b

Respondent having been evaluated and pre-screened for comunitment pursuant to MLC.A. Sectlan 44-21-47, Communileare
offers the following:

Lagat Charges Pending: Yes No A

PERSONAL DATA INFORMATION

name: Princess Ander sav. _ social. security No: nos: _4¥{28 {2

RACE: MARITAL STATUS: Single OManied Divorced O Widowad SEX: OMale OFemale
INTERPRETIVE AIDS NEEDED (¥NO 0 YES (Le. aign language, Spanish, Bralife, ate.)

aopress: __ 7% Chrichohey’ Cove.
byhalin vas Beetl

COUNTY OF RESIDENCE: _ rY¥e7tdel/

NAME OF SPOUSE/NEXT QE KIN: AR
MEDICAIDE fae MEDICARE # PUVA

EDUCATION (Circle Highest Grade Complefed)1 23466789 10 11 (2)3 14 15 16 17 18 GED Currently Enrolled: 0
OCCUPATION: stele PRESENTLY EMPLOYED: Cl Yes _artle
EMPLOYER: =~ LENGTH OF EMPLOYMENT: meg J OS cer HOTT
HOUSEHOLD COMPOSITION (Mar All That Apply). :

C1 Lives Alone C} With Siblings CJ With Parsnt(s) (] Homeless CI With Children
O With Spouse Ci With Relatives G With Legal Guardian © With Gthers CJ In Group Home

NUMBER OF DEPENDENT(S): _(2 CJ Unknown (Exptainy
NAME OF AFFIANT (Person Filing Papara)

hutkaen, Keren Relationship: eaaegeye Phone: (H) (WwW)
Media. City __"tapote> State T7/ Zip Code

FAMILY CONTACT Ci] Unknown (Explain)
Name: Abeela. Andis -—— Relationship: mother Phone: wy Ye }-297 Fyn

Address: City Stats Zip Code
PERSON WITH LEGAL CUSTODY, GUARDIANSHIP, ANDIOR CONSERVATORSHIP = (7 Not applicable (N/a)

Name: ys Relationship: Phone: (H} fA

Address: City State Zip Code
PRE-EVALUATION SCREENING INFORMANT. : RELATIONSHIP

MC/KD Core Disclosure

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Pre-cvaluation Scraening Form (page avo}
“ MEDICAL HISTORY INFORMATION
PREVIOUS MENTAL HEALTH HOSPITALIZATION, SERVICE, ASD TREATMENT (List Where and When}
nant .
CURRENT MEDICATIONS (List Names and Dosage)
: Name Dosage
yurnt—
COMPLIANT WITH MEDICATIONS: CYes No Glinknown
DESCRIBE PHYSICAL APPEARANCE:
ALLERGIES: Yes G@No Unknown If Yes, Explain

PREVIOUS SURGERY: (Yas O No unknown lfYes, Explain

CONCURRENT PHYSICAL CONDITIONS (Mark all that apply) Ci Phyelcal Disability (lst required gids |.2.

wheal chair, white cane, support cane, oxygen, atc.) .
C Dlabetes O Emphysema/Cold 0 Heart Condilon © Seizures
Gi Hypertension OS.T.O. OB 1 Cancer
OContaglous Disease | } Other Chronic inass G (Please State)

© Hepathis one known :

Elaborate on acute medical conditions marked (if needed)

FAMILY PHYSICIAN: Uyiletarcr
“4 te + Lot ane . APe Pe fans Eee i : ay 7 Ras ne TR? Fey
Sa Aes EG
pUBON ay wallog
ee

PROTOS 2 a Swe ban 8

History or Pragent Danger to Self G Yes
Oi Thoughts of suicide C1 Threats of sulcide Pian for suicide C Pre-occupation with death
i Suicide gesture ifSuicide attempts Cl Family history of suleida (3 Salf-matilation
o Gabilty to care for saif @High risk behavior C} Provoking harm ta self from others
Other
Describe and note date of occurrence: 4tltmgrted! sve rolest Oe. iyhindoadeedivnt HE ala \g
History or Present Danger to Others Cl Yes 6YNo (lf Yes, mark appropriate Sstatament(s) below)

G Thoughts ta harm others Ci Threats to harm others ( Plans to hann others
O Altempts io harm others O Stalking € Has harmed others
5 on like killing someone © Inablilty or unwillingness to cana for dependants

er

Describe and note date of occurrence:

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a,

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ae noe meen meme ere deg so RAE TES Epves ager BIE OF

Fallura to Care for Self gu Yes No (if Yes, mark appropiate statement(s) belaw)
Failure or inability to provide neceasary: (Ci Food OClothing. O Shelter CI Safety GidMdedical cara for self

Antisocial/Criminal Bshavior © Yes as (lf Yea, mark appropriate stafemeni{s) below) foam
O Frequent lying 1 Stealing (J Running away from home Excessive fighting

Cl Desiroys properly C1] Fire settling C Cruelty is other Cruelty to animale

CG Aresia O Gang memharship O Brandishing weapons CI Convictions |

Cl Imprisoned CI Uses multiple alases CG) Exhibitionism CI Family desertion

CT identify any legal charges which may be pending

0 Other

Deserlbe:

Drug Use/Abuse as No Unknown (// Yes, mark appropriate siatament(s) balow)

OHas abused © ts ahusing © Narcotics © Amphetamines CG) Barblurates (1) Hallucinogens

G Cocaine arjuana O Absenteeism © Job loss : & Asresis

© Has required dicspitalizalion © Family problems due lo drug use © Currently undar the Influence of drugs

C7 Other

Describe: THC» the aby Lanr mejtind cece 2 fofy d

, oe

Alcohol Use/Abuse ClYes ONo ByGnknown (i Yes, mark appropriate siatement(s) befow)

a Drinking problem Suspected Ci Intoxicated Now ( Has required hozpitalization

C1 D.T.'s C) Black-outs C) Absentesiam

O) Job loss © Arrezis/DUl CG Family problems dua to drinking
O Currently under the influence of alcohol (BAL, if availabla)

O High-risk behavior occure primarily when under the Influanca of alcoholic beverages, including beer.

fj Other

Describe:

Depressive-Like Behaviors Wes CNG ~~ (if Yes, mark appropriate sfatemeni{(s) below}

Cj Sadnesa Cl Fatigue Ci Law Energy CJ Logs of interest CG Exireme Withdrawal

C1 Crying © Poor Concentration Ci Walght lose or gain - © Gullit featinga

O Feelings of worthlessness Ci Hopalessneasa about the future Ci Hypaactive
fe Thoughtstthreats of suicide 3 Sudden drop in grades or change In friends (especially in adolescents)
OOther

Describe: 5éta “Daw w Sef’

ve

Manic-Like Behavior Yes CINo = (if Yes, mark appropriate statameni(s) below)

O Eupnoria 1 Hyperactivity  Grandloslty O Over tatkativeness and/or pressured speach
O initanillty 0 High Risk Behaviors O Sleep disturbance O Extravagance with money

© Other

Describe: Lape Ate lstin. (qety be bebe sutend)

eo

Dementla-Like Characteristics / C Yes flo (i? Yes, mark appropriate statemenifs) below)

Oi Confusion / G Wanders OF G Disorientation Ci impatred Judgment

© Poor Concentration (Gates Lost C] Confusion © Significant short-and/or long term memory
O Declina in activities of dally living (Consider age of respondent) G Impaired Abstract Thinking

CG Other

Describe:

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fw weummiwl wuEmoritiy COTM [page four
Psychotic-Like Behavior | JAYea ONo {if Yes, mark appropiate alatament(s) below)
Cl Posepersonaihygiene O Loose Association EP Suspiciousneas (1 Sizarre or checene acts
“CO Withdrawn O Ineoherence G Unmansgaable G Flat or Inappropriate affect
Ci Talks often Ci Wandars off  lusions CG Disorfentation (time, place, pecpia}
lusions Ci Confusion O Forgetfulness _&h-Poor judgment
KetDoesn't make sense =‘ Ivillabilily _SeHallucinalions
Semational turmoll G Disorganized speach or behavior
1 Other poclpe liad. -
Describa: pee posed neiy Setant dbiioure [eat dig Br Liege PES
EWS OAS aes : mie eet
ADDITIONAL INFO! FORK Ria IC ONE Gee oe A DET EU Ee See

Chikd/Adolescent Conduct Disturbance

Yeo | pio ) Unknown (if Yes, mark appropriate statemani{s) below}
(Current Behavior or During Childhood)

Ci Theft G Fire-setting ( Cruelty to people C) Crualty to animale C) Dastruction of property
OQ Aggression 0 Arrest/detainment (3 Combativeneas/aggrassion Cl Sexuat high risk behavior
© Refusal to attend school CG Running away C1 Defianes of authority and rules

C Possession/Use of weapons C) Frequent lying Ci Reported sexual or physical abusa/neglact

C1 Other .

Davelopmental Disability CI Yes ilo © Unknown (if Yes, mark appropriate statemani(s) below

O History of special education placement Cl Docurnented (QO acora below a 70
CO} Inabillly to care for self or activities of daily Ihing & Significantly sub-average intellectual functioning before age 18

Ci Substantial limitations in adaptive skilis (communivation, sslt-care, home dving, social skills, community use, self-direction
health and safely, leisure and work}

© Other
Other OYes do Unknown (if Yes, mark appropriate slalamant{s) below)
 Anxety OG Panic G Eating disturbance fF Sexual problems CO Impulsive behaviors

(} Obsessive behaviors CJ Other
ee Te " TP ROAS Ieee
EARECOMMEND

Recommand Examination for Comraliment bfVes C3 No

If yes, is oulpaiant commitment currently an option forthe respondent? Ci Yes §3No Explain:

LENCE een SOMNEN es aoe
ENDA

JSISBECIEIG

oe iS See elie: dasTfeal oath giGneiar i Atty
lg fulsy lle .

fiiheaer Gabbe. Moduonicte ale/, | Txba Shelia MS New CHAT
Screener/Credentlals Dale Print Name
DMH\013. (Rev, 10-07) 40h4

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